ATTORNEY'S NAME:
AND ADDRESS:

Case 2:18-cv-04589-MLCF-KWR Document 1-1 Filed 05/03/18 Page 1 of 7

Rome,” gory W 32665
2413 Px._aham Dr , Chalmette, LA 70043

CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

 

STATE OF LOUISIANA
NO: 2018-02512 DIVISION: I SECTION: 14
COTTON, TERRI
Versus be
BQ
MARRIOTT INTERNATIONALINC. ETAL ET AL eS
CITATION - ni
TO: MARRIOTT INTERNATIONAL, INC.
THROUGH: ITS REGISTERED AGENT FOR SERVICE OF PROCESS, CT CORPORATION SYSSTEM
3867 PLAZA TOWER DR. , BATON ROUGE, LA 70816
YOU HAVE BEEN SUED:

You must either comply with the demand contained in the

Petition for Damages
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the

Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)

days after the service hereof under penalty of default.

ADDITIONAL INFORMATION

Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New Orleans
Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New
Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.

#83 I% COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********

IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the

Parish of Orleans, State of LA March 16, 2018

Clerk's Office, Room 402, Civil Courts
421 Loyola Avenue
New Orleans, LA

DALE N. ATKINS, Clerk of
The Civil District Court

for the Parish of Orleans

State of LA . la. |.
by|_ wl 6reves
Monchet' Bridges, Deputy Clerk

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SHERIFF'S RETURN
(for use of process servers only)

PERSONAL SERVICE

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On this
the within
’ Petition for Damages
ON MARRIOTT INTERNATIONAL, INC.
THROUGH: ITS REGISTERED AGENT FOR SERVICE OF PROCESS,
CT CORPORATION SYSSTEM
Returned the same day

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CT Corporation

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ID: 9872099

 

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Grenna Beauregard

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DOMICILIARY SERVICE

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On this
the within
Petition for Damages
ON MARRIOTT INTERNATIONAL, INC.
THROUGH: ITS REGISTERED AGENT FOR SERVICE OF PROCESS,
CT CORPORATION SYSSTEM
by leaving same at the dwelling house, or usual place of abode, in the hands of
a person of suitable age and

discretion residing therein as a member of the domiciliary establishment, whose
name and other facts connected with this service I learned by interrogating
HIM/HER the said MARRIOTT INTERNATIONAL, INC. being absent from

the domicile at time of said service.
Returned the same day
No.

 

Deputy Sheriff of 7 ae

 

 

VERIFIED

      
 

EXHIBIT

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Case 2:18-cv-04589-MLCF-KWR Document 1-1 Filed. G5/E3K48 Page 2 of 7

ATTORNEY'S NAME: Rome, Gregory W 32665

 

AND ADDRESS: 2413 F jham Dr , Chalmette, LA 70043
CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO: 2018-02512 DIVISION: I SECTION: 14
COTTON, TERRI
Versus
MARRIOTT INTERNATIONALINC. ETAL ETAL
CITATION
TO: HMC PROPERTIES II LIMITED PARTNERSHIP es
THROUGH: ITS REGISTERED AGENT FOR SERVICE OF PROCESS, CORPORATION SERVICE =
COMPANY iy
501 LOUISIANA AVENUE , BATON ROUGE, LA 70802 =
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Parish of Orleans, State of LA March 16, 2018

Clerk's Office, Room 402, Civil Courts
421 Loyola Avenue
New Orleans, LA

DALE N. ATKINS, Clerk of
The Civil District Court

for the Parish of Orleans
State th | an

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Monchet' Bridges, Deputy Clerk

SHERIFF'S RETURN
(for use of process servers only)

PERSONAL SERVICE

day of served a copy of

On this
the within
Petition for Damages
ON HMC PROPERTIES I LIMITED PARTNERSHIP
THROUGH: ITS REGISTERED AGENT FOR SERVICE OF PROCESS,
CORPORATION SERVICE COMPANY

Returned the same day

 

 

 

 

 

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Deputy Sheriff \
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STATE OF LA

 

DOMICILIARY SERVICE

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Petition for Damages

ON HMC PROPERTIES I] LIMITED PARTNERSHIP

THROUGH: ITS REGISTERED AGENT FOR SERVICE OF PROCESS,
CORPORATION SERVICE COMPANY

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a person of suitable age and
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absent from the domicile at time of said service. ~

Returned the same day

 

Deputy Sheriff of,
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Case 2:18-cv-04589-MLCF-KWR Document 1-1 Filed 05/03/18 Page 3 of 7

SECTION 14

CIVIL DISTRICT COURT

  

. PARISH OF ORLEANS wo - 4
| STATE OF LOUISIANA Ba '
‘ ic Seam
No. ” 2 } Division ot — Sétion
d oo “—
Terri Cotton Ss, 2

 
 

versus

Marriott International, Inc.; HMC Properties II Limited Partnership

f/k/a Marriott Hotel Properties II Limited Partnership; and ABC Insurance Company

 

 

Filed Deputy Clerk

PETITION FOR DAMAGES
WITH JURY DEMAND ©

Now INTO CowuRT, through undersigned counsel, comes petitioner Terri Cotton, a person of
the full age of majority and resident of the state of New Mexico, who respectfully represents that:
L.

Venue is proper in this court under Louisiana Code of Civil Procedure article 74 because
the injuries described below were sustained in Orleans Parish.
2.
Made defendants here in are:
Marriott International, Inc., a Delaware corporation authorized to do and actually doing
business in the State of Louisiana.
HMC Properties II Limited Partnership, a Delaware partnership authorized to do and
actually doing business in the State of Louisiana. HMC Properties II Limited Partnership
was formerly known as Marriott Hotel Properties IT Limited Partnership.
ABC Insurance Company, a presently unidentified insurance company authorized to do
and doing business in the State of Louisiana.
3.
Defendants are indebted to the petitioner Terri Cotton jointly, severally, and in solido for
reasonable damages together with legal interest from the date of judicial demand until paid and

for all costs of these proceedings for the following reasons.

 

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4.
On or around March 25, 2017, petitioner Terri Cotton was a guest at the New Orleans
Marriott hotel located at 555 Canal Street, New Orleans, Louisiana.
5.
Upon information and belief, the New Orleans Marriott is owned and operated by the
defendants.
6.
While walking around the hotel pool on the evening of March 25, 2016, the petitioner
tripped on an unexpected, unlit, and unmarked step up onto a narrow platform built across the

walkway around the the pool.

Asa result of this fall, Petitioner suffered severe, permanent, and crippling injuries —
including but not limited to the following: a fractured right femur, fractured right tibia, fractured
right humerus, fractured right fibula, bruising, and other injuries. Petitioner has undergone
several surgeries, has spent months in hospitals and skilled nursing facilities in connection with

this fall, and may require additional treatment.

Petitioner continues to suffer physical pain, emotional anguish, and physical disability as a
result of the injuries she sustained in her fall at the New Orleans Marriott and is likely
permanently disabled.

9,
Prior to the fall at issue here, Petitioner was an active woman capable of living on her own.
10.

The petitioner respectfully avers that the defendants are liable under the doctrine of res
ipsa loquitur by owning, maintaining, or operating a building containing a defective and
unreasonably dangerous condition in their care, custody, and control, which unreasonably

dangerous condition was the proximate cause of the petitioner’s injuries.

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11.

Petitioner’s injuries were caused by the negligence of the defendants in the following non-
exclusive ways:

1, By creating and maintaining a hazardous condition and failing to remedy or protect
guests from that condition,

i. By maintaining a defective condition on their premises;

i. Res ipsa loquitur;

lv. By failing to post warning signs;

v. By failing to provide adequate lighting around the pool deck;

vi. By failing to mark or cordon off a dangerous condition that was impossible to sce in the
dark;

vii. By failing to warn guests that the pool deck contained a dangerous condition; and

viii. Any any other acts of negligence that are proved at the trial of this matter.

12.

The unlit and unmarked projection in a dark area of an otherwise flat pool deck of the
New Orleans Marriott presented an unreasonable risk of harm to the petitioner. This
unreasonable risk of harm would have been foreseeable had the defendants exercised reasonable
care.

13.

The defendants, as the owners of the building, caused the pool deck to be built in such a
way that it presented an unreasonable risk of harm to individuals walking in the area, knew of the
condition presenting and unreasonable risk of harm, or should have known of the condition
presenting an unreasonable risk of harm.

14,

The defendants failed to exercise reasonable care by causing the pool deck to be built in
such a way that it presented an unreasonable risk of harm to individuals walking in the area, by
failing to light the area, by failing to mark or cordon off the area, and through any other ways that

will be proven at trial.

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15.
Asa result of the incident and injuries described above, petitioner Terri Cotton is entitled

to reasonable damages for the following:

1. Past, present, and future medical expenses;
i. Past, present, and future physical pain and suffering;
i. Past, present, and future mental anguish;

iv. Past, present, and future emotional distress;
V. Permanent disability and loss of function,
vi. Loss of enjoyment of life; and
vii. Any other general or specific damages to which Petitioner is entitled under state or
federal law.
16.

Upon information and belief, the defendants had a policy of insurance with ABC
Insurance Company on the date of Pctitioner’s accident that provided coverage for the type of
loss sued upon herein, thus rendering the insurer liable unto Petitioner with the other named
defendants under the Louisiana Direct Action Statute.

17.

Petitioner demands a trial by jury.

WHEREFORE, petitioner Terri Cotton prays that the defendants be cited to appear
herein and answer, and that after due proceedings there be judgment in favor of petitioner Terri
Cotton and against the defendants— Marriott International, Inc.; HMC Properties II Limited
Partnership; and ABC Insurance Company—for such sums as are reasonable in the premises,
together with all costs of these proceedings, plus interest from the date of judicial demand.

PETITIONER FURTHER PRAYS for all other general and equitable relief to which she

may be entitled.

   

STATE OF LA

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Case 2:18-cv-04589-MLCF-KWR Document 1-1 Filed 05/03/18 Page 7 of 7

PLEASE SERVE

MARRIOTT INTERNATIONAL, INC.

through its registered agent for service of process,
C T Corporation System

3867 Plaza Tower Dr.

Baton Rouge, LA 70816

HMC PROPERTIES IT LIMITED PARTNERSHIP
through its registered agent for service of process,
Corporation Service Company

501 Louisiana Avenue

Baton Rouge, LA 70802

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Respectfully submitted,
Williams & Rome, L.L.C.

Gregory/W. Rome (LSBA #32665)
Sharon M. Williams (LSBA #13530)
Attorneys for Terri Cotton

2413 Pakenham Drive

Chalmette, LA 70043

(504) 875-4397

(504) 875-4402 fax

 
